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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

  KRYSTI MERCHANT, as Personal
  Representative for the Estate of
  Cory Merchant, Deceased,

        Plaintiff,

  v.                                                Case No. 5:23-cv-00661
                                                    DISPOSITIVE MOTION
  BILLY WOODS, Sheriff of Marion
  County, Florida, in his official
  Capacity; Deputy JUSTIN KOSINSKI;
  Deputy DELLUN MILLER; Sergeant
  JEROME DUKES;

        Defendants.
  _____________________________________/

   DEFENDANTS, JUSTIN KOSINSKI’S AND DELLUN MILLER’S, MOTION
                    FOR SUMMARY JUDGMENT

        Defendants, Deputy JUSTIN KOSINSKI (“Deputy Kosinski”) and Deputy

  DELLUN MILLER (“Deputy Miller”), by and through their undersigned

  attorneys, pursuant to Rule 56, Fed. R. Civ. P., hereby files their Motion for

  Summary Judgment, and state:

                                 INTRODUCTION

        1.     On December 8, 2023, Plaintiff, KRYSTI MERCHANT, as Personal

  Representative for the Estate of Cory Merchant, Deceased (“Plaintiff”), filed her

  First Amended Complaint against Deputy Kosinski and Deputy Miller alleging (1)


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  violation of the Due Process Clause of the Fourteenth Amendment under 42 U.S.C.

  § 1983 and (2) wrongful death under Florida law, due to the assault and death of

  Cory Merchant (“Merchant”), a pretrial detainee at the Marion County Jail.

        2.     For the reasons argued herein, Deputy Kosinski and Deputy Miller

  are entitled to summary judgment as a matter of law on Counts I and III.

                       SUMMARY JUDGMENT STANDARD

        “The court shall grant summary judgment if the movant shows that there is

  no genuine dispute as to any material fact and the movant is entitled to judgment

  as a matter of law.” Fed.R.Civ.P. 56(a). An issue of fact is “genuine” only if a

  reasonable jury could return a verdict for the nonmoving party. Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248 (1968). A fact is “material” if the fact could affect the

  outcome of the lawsuit under the governing law. Id. The moving party bears the

  initial burden of identifying those portions of the record demonstrating a lack of

  genuine dispute of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

  If the movant shows “an absence of evidence to support the nonmoving party’s

  case,” the burden then shifts to the non-moving party to demonstrate that there

  are, in fact, genuine disputes of material facts. Id. at 325. In determining whether

  a genuine dispute of material fact exists, the court must read the record and the

  evidence presented in the light most favorable to the non-moving party. Porter v.

  Ray, 461 F.3d 1315, 1320 (11th Cir. 2006).


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                              STATEMENT OF FACTS

        On November 6, 2021, Deputy Kosinksi and Deputy Dellun Miller were

  assigned as the detention deputies for Gulf Pod, which consisted of four, separate

  housing sections.    Exh. 12, Sheriff Woods’ Answers to Interrogatories, # 15.

  Sergeant Jerome Dukes (“Sergeant Dukes”) was their sector supervisor. Exh. 39,

  Detention Personnel Post Assignments; Exh. 20, Gulf Pod Post Order. The shift

  began at 6:00 p.m., and continued to 6:00 a.m. the following day, November 7,

  2021. Exh. 21, Kosinski Deposition, 24/2-24/6; Exh. 23, Miller Deposition, 31/22-

  32/9. Gulf Pod, Section Alpha, housed inmates convicted of, or accused of, sex

  offense crimes.     Exh. 21, Kosinski Deposition, 20/20-21/14; Exh. 23, Miller

  Deposition, 16/10-16/17. Neither Deputy Kosinski nor Deputy Miller determined

  which inmates would be placed into Gulf Pod, Section Alpha; instead,

  classifications within the Sheriff’s Office would decide where inmates were

  housed while incarcerated within the Marion County Jail. Exh. 21, Kosinski

  Deposition, 21/1-21/7; Exh. 23, Miller Deposition, 21/17-21/22; Exh. 15,

  Classification of Inmates, #6766.00.

        Deputy Kosinski and Deputy Miller were responsible for the security of

  Gulf Pod, which included monitoring the inmates. Exh. 21, Kosinski Deposition,

  21/17-22/3; Exh. 23, Miller Deposition, 39/5-39/12; Exh. 20, Gulf Pod Post Order.

  Inmates were also required to follow the rules and regulations outlined in the


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  inmate handbook. Exh. 16, Inmate Handbook. The inmate handbook, among

  other proscriptions and topics, prohibited fighting and disorderly conduct, and

  outlined the procedures for disciplinary hearings, inmate requests, lockdown, and

  reporting incidents of assault and sexual violence. Id.; Exh. 23, Miller Deposition,

  55/17-55/24; Exh. 21, Kosinski Deposition, 77/1-77/8.         Since this shift was

  predominantly a night shift when inmates would sleep, Deputy Kosinski and

  Deputy Miller would regularly watch inmates through the windows and video

  camera system in the rover station. Exh. 21, Kosinski Deposition, 22/16-23/10;

  Exh. 19, Dukes Deposition, 42/10-44/24; Exh. 18, McNeely Deposition, 32/11-

  32/9. Deputy Koskinski and Deputy Miller would also conduct hourly security

  checks by entering the housing section to physically check each inmate in Gulf

  Pod. Exh. 21, Kosinski Deposition, 23/11-23/25; Exh. 23, Miller Deposition, 22/4-

  22/8; Exh. 22, Headcount of Inmates, #6164.00; Exh. 20, Gulf Pod Post Order.

  Either Deputy Kosinski or Deputy Miller completed the security checks on

  November 6 and November 7, 2021. Exh. 21, Kosinski Deposition, 24/14-25/5;

  Exh. 23, Miller Deposition, 32/22-33/18; Exh. 36, Daily Log Report.          While

  conducting the security check, Deputy Kosinski would enter the housing section

  and walk through the bunks where the inmates slept to make sure there were no

  abnormalities, that the inmates were breathing, and that the inmates did not

  appear injured. Exh. 21, Kosinski Deposition, 26/16-27/14. Deputy Kosinski


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  would not just enter the day room area and look around because that would not

  be a complete security check. Id., 29/17-30/13. Although Deputy Miller was

  counseled in the past for not correctly completing a security check, on the date of

  the incident Deputy Miller completed security checks pursuant to Sheriff’s Office

  policy. Exh. 23, Miller Deposition, 100/18-100/21.

        On November 7, 2021, Eric Lutterloah (“Lutterloah”), at approximately 1:09

  a.m., within in a span of less than 30 seconds, arose from his bunk, walked over to

  the next bunk, talked to Merchant, and then punched Merchant three times in the

  face, which caused Merchant to fall to the ground and strike the back of head. Exh.

  1, Jail Surveillance Video, 01:08:48-01:09:15; Exh. 2, Incident Report #210005382;

  Exh. 3, FIBRS Incident Report. At the time of Lutterloah’s assault, Deputy Miller

  had relieved another deputy assigned to master control, which left Deputy

  Kosinski alone to monitor Gulf Pod. Exh. 23, Miller Deposition, 39/13-39/17; Exh.

  21, Kosinski Deposition, 31/5-31/10; Exh. 37, Dukes Affidavit. Although Deputy

  Miller had video cameras in master control, Deputy Miller did not observe

  Lutterloah’s assault as Deputy Miller’s primary responsibility was to open the

  security doors to allow other correctional officers and inmates to access the various

  areas of the jail. Exh. 23, Miller Deposition, 40/7-41/15. Deputy Kosinski also did

  not observe Lutterloah and Merchant off of their bunks and did not observe the

  assault. Exh. 21, Kosinski Deposition, 58/24-59/9; 71/18-71/25. Neither Deputy


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  Kosinski nor Deputy Miller knew or had any reason to believe that Lutterloah and

  Merchant disliked each other, had any problems with each in the past, that

  Lutterloah and Merchant were going to fight if housed in the same housing

  section, or that housing Lutterloah and Merchant together could cause a risk of

  harm to Merchant. Exh. 21, Kosinski Deposition, 72/1-72/15; Exh. 23, Miller

  Deposition, 98/18-98/21, 99/8-100/5.

        After the assault occurred, another inmate walked to the rover station

  window, knocked, and said, “man down.” Exh. 21, Kosinski Deposition, 60/12-

  60/16, 73/5-73/13. Deputy Kosinski retrieved his gloves, opened the housing

  section, and went towards where Merchant laid on the floor. Id., 62/3-62/9,

  63/10-63/21, 73/14-75/10.      After observing Merchant in distress, Kosinski

  immediately radioed for backup and medical assistance. Id., Kosinski Deposition,

  63/22-64/6. Thereafter, other officers and a nurse with a backboard arrived inside

  Gulf Pod to assist with the situation. Exh. 1, Jail Surveillance Video, 01:13:49-

  01:15:25; Exh. 19, Dukes Deposition, 138/25-139/25. After Sergeant Dukes arrived

  shortly after, Merchant was carried out of the G-Pod on a stretcher and brought to

  the hospital. Id., 140/23-141/7; Exh. 1, Jail Surveillance Video, 01:14:10-01:15:25.

  Merchant later died at the hospital on November 13, 2021, due to complications

  from blunt head trauma as a result of Lutterloah’s assault. Exh. 4, Autopsy Report

  and Certification of Death. Lutterloah is still awaiting trial for the charge of


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  manslaughter, a second-degree felony, due to his assault and the death of

  Merchant. Exh. 5, Information, 2021-CF-004457; Exh. 6, Probable Cause Affidavit.

                              MEMORANDUM OF LAW

      1.    Deputy Kosinski and Deputy Miller are entitled to qualified
  immunity.

        “To receive qualified immunity, [a] government official must first prove that

  he was acting within his discretionary authority.”          Caldwell v. Warden, FCI

  Talladega, 748 F.3d 1090, 1098 (11th Cir. 2014) (internal quotation marks omitted).

  An official acts within his discretionary authority if his actions (1) were

  undertaken “pursuant to the performance of his duties,” and (2) were “within the

  scope of his authority.” Rich v. Dollar, 841 F.2d 1558, 1564 (11th Cir. 1988); see also

  Holloman v. Harland, 370 F.3d 1252, 1265 (11th Cir. 2004) (noting that an official acts

  within his discretionary authority if he “perform[s] a legitimate job-related

  function . . . through means that [are] within his power to utilize”). Here, the

  Marion County Sheriff’s Office employed Deputy Kosinski and Deputy Miller as

  correctional officers in the Marion County Jail at the time of Lutterloah’s assault

  on Merchant. Deputy Kosinski and Deputy Miller supervised the inmates inside

  the Marion County Jail to include Merchant and Lutterloah. Thus, since Deputy

  Kosinski and Deputy Miller were acting in his discretionary authority at the time

  of the incident, in order to defeat their right to qualified immunity, Plaintiff must

  show that (1) Deputy Kosinski and Deputy Miller violated a constitutional right

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  and (2) the right was clearly established at the time of the alleged violation.

  Holloman, 370 F.3d at 1264.

        Deliberate indifference claims brought by pretrial detainees are governed

  by the Due Process Clause of the Fourteenth Amendment. See e.g., Cottrell v.

  Caldwell, 85 F.3d 1480, 1490 (11th Cir. 1996) (“Claims involving the mistreatment

  of arrestees or pretrial detainees in custody are governed by the Fourteenth

  Amendment’s Due Process Clause . . .”). The standards for deliberate indifference

  claims under the Fourteenth Amendment are “identical” to those under the Eighth

  Amendment. Goodman v. Kimbrough, 718 F.3d 1325, 1331 n.1 (11th Cir. 2013) (citing

  Goebert v. Lee Cnty., 510 F.3d 1312, 1326 (11th Cir. 2007)); see also Ireland v. Prummell,

  53 F.4th 1274, 1288, n. 4 (11th Cir. 2022) (applying Eighth Amendment caselaw to

  pretrial detainee deliberate indifference claims); Keith v. Dekalb Cnty, Ga., 749 F.3d

  1034, 1045, n. 35 (11th Cir. 2014) (stating that pretrial detainee’s deliberate

  indifference to a substantial risk of harm claims are properly analyzed under the

  Substantive Due Process Clause of the Fourteenth Amendment, but the standard

  is the same as that for the Eighth Amendment); Nelson v. Tompkins, 89 F.4th 1289,

  1297 (11th Cir. 2024) (in assault involving pretrial detainee, noting that the

  deliberate indifference standard “has two components: one subjective and one

  objective”) (quoting Mosley v. Zachery, 966 F.3d 1265, 1270 (11th Cir. 2020)); Baker

  v. Williams, 3:16-cv-224-J-32JBT, 2017 U.S. Dist. LEXIS 71217, at *6, n. 3 (M.D. Fla.


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  May 10, 2017) (applying deliberate indifference standard to pretrial detainee’s

  claim that jail officials failed to protect him from assault by other inmates). To

  survive summary judgment in a case alleging deliberate indifference, a plaintiff

  must “produce sufficient evidence of (1) a substantial risk of serious harm; (2) the

  defendants’ deliberate indifference to that risk; and (3) causation.” Goodman, 718

  F.3d at 1331 (citation omitted).

        A.     Lutterloah was not a “substantial risk of serious harm” to Merchant.

        Plaintiff alleged that Deputy Kosinski and Deputy Miller failed to protect

  Merchant from particularly violent inmates in the Marion County Jail, including

  Lutterloah. However, the record evidence in this case does not support “a strong

  likelihood, rather than a mere possibility,” that Lutterloah presented a substantial

  risk of serious harm to Merchant. See Nelson, 89 F.4th at 1296 (citation omitted).

  Merchant and Lutterloah resided together in Gulf Pod for the majority of

  Lutterloah’s incarceration in the Marion County Jail prior to Lutterloah’s assault

  on Merchant. Yet there were no documented disagreements between Merchant

  and Lutterloah. In fact, until Lutterloah struck Merchant on November 7, 2021,

  Lutterloah had no prior instances of any other known disagreements with inmates

  in Gulf Pod despite having resided in Gulf Pod since his booking into the Marion

  County Jail on June 10, 2020, a period of 515 days, excluding Lutterloah’s 8 days

  spent in another housing section.        Exh. 31, Merchant Housing Movements


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  Classifications Report; Exh. 30, Lutterloah Housing Movements Classifications

  Report; Exh. 32, Peterson Affidavit. Merchant also never requested “keep aways”

  from Lutterloah at any time, or any other inmate who resided in Gulf Pod with

  Merchant at the time of Lutterloah’s assault. Yet Merchant was familiar with this

  process as he had previously requested “keep aways” from other inmates in April

  of 2020. Exh. 38, Merchant Request Form.

        Thus, there is no evidence that Lutterloah posed a substantial risk of harm

  to Merchant or any other inmate within the Marion County Jail at the time of

  Lutterloah’s assault.

        B.     The Marion County Jail did not pose a “substantial risk of serious harm” to
               Merchant.

        Plaintiff has alleged that various conditions inside the Marion County Jail,

  e.g., segregation of sex offender inmates, past inmate-on-inmate assaults,

  dormitory-style housing, hourly, nighttime security checks, and inmates being

  outside their bunk at lockdown, created a substantial risk of serious harm to

  Merchant that caused Merchant’s assault and ultimate death. However, “not . . .

  every injury suffered by one prisoner at the hands of another that translates into

  constitutional liability for prison officials responsible for the victim’s safety.”

  Farmer v. Brennan, 511 U.S. 825, 834 (1994). Prisons and jails are necessarily

  dangerous places. See id. at 858 (Thomas, J., concurring in the judgment); Kincaid

  v. Williams, 143 S. Ct. 2414, 2419 n.2, (2023) (Alito, J., dissenting) (referring to “the
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  uniquely dangerous context of prison”); Florence v. Bd. of Chosen Freeholders of Cnty.

  of Burlington, 566 U.S. 318, 333 (2012) (“Jails are often crowded, unsanitary, and

  dangerous places.”); Spear v. Sowders, 71 F.3d 626, 630 (6th Cir. 1995) (en banc)

  (“Prisons are dangerous and filled with law-breaking because that is where the

  criminals are. Even the most secure prisons are dangerous places for inmates,

  employees, and visitors.”). “[T]hey house society’s most antisocial and violent

  people in close proximity with one another.” Farmer, 511 U.S. at 858; see also

  Hudson v. Palmer, 468 U.S. 517, 526 (1984) (“Prisons, by definition, are places of

  involuntary confinement of persons who have a demonstrated proclivity for

  antisocial criminal, and often violent, conduct.”). Violent incidents among inmates

  are “inevitable” in such an environment “no matter what the guards do . . . unless

  all prisoners are locked in their cells 24 hours a day and sedated.” Farmer, 511 U.S.

  at 858-59 (Thomas, J., concurring in judgment) (citation omitted); see also Purcell ex.

  rel. Estate of Morgan v. Toombs County, 400 F.3d 1313, 1320, n.4 (11th Cir. 2005)

  (holding that gambling and fights over card games not sufficient to find jail

  administrators liable for beating death of an inmate who attackers believed took

  their money); Marbury v. Warden, 936 F.3d 1227, 1234 (11th Cir. 2019) (violence

  among inmates must have resulted in so many incidents or injuries that such

  incidents or injuries were “the norm or something close to it.”) (quoting Purcell, 400

  F.3d at 1322). But the Constitution does not mandate jail officials foresee and


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  prevent all potential danger despite the inherent risk of violence in jails. Instead,

  jail officials have a constitutional obligation to guarantee inmates’ safety through

  “reasonable measures.” See Farmer, 511 U.S. at 832.

        As an initial matter, Deputy Kosinski and Deputy Miller did not classify

  inmates and did not decide to place inmates charged with sex offenses into the

  same housing section. Nor is there evidence in the record to indicate that Deputy

  Kosinski and Deputy Miller observed any prior violence or rule violations by

  Lutterloah that would have necessitated drafting an incident or disciplinary report

  for review by investigations or classifications within the Sheriff’s Office to

  determine whether Lutterloah should have been moved to another housing

  section within the Marion County Jail. Further, if Deputy Kosinski and Deputy

  Miller had observed prior inmate-on-inmate violence during their supervision of

  the inmates, per Sheriff’s Office policy, they would have intervened, brought the

  inmates for medical clearance, and drafted an incident report for investigations.

  Exh. 21, Kosinski Deposition, 36/3-36/15, 37/7-37/13, 77/16-79/25; Exh. 23,

  Miller Deposition, 50/10-50/24, 55/3-55/16. And if Deputy Kosinski or Deputy

  Miller did not observe the incident, but later learned of the incident from the

  inmates, they would review the video footage and draft an incident report to allow

  investigations to determine whether any inmate should be disciplined or

  rehoused. Exh. 21, Kosinski Deposition, 38/2-39/9; 77/16-79/25; Exh. 23, Miller


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  Deposition, 50/14-50/24, 57/19-57/24, 66/9-66/14. This was the expectation and

  policy of the Sheriff’s Office. In fact, Deputy Kosinski was previously disciplined

  by the Sheriff’s Office because another correctional deputy working with Deputy

  Kosinski failed to properly document an altercation between two inmates even

  though Deputy Kosinski was not in the housing section with the situation took

  place. Exh. 21, Kosinski Deposition, 13/22-14/24.

        In order to provide for the safety and security of the Marion County Jail and

  the inmates, Deputy Kosinski and Deputy Miller, per Sheriff’s Office policy,

  conducted security checks at night in addition to their continuous monitoring of

  inmates through the video surveillance system and windows that provided

  observation into the individual housing sections within Gulf Pod.         Exh. 21,

  Kosinski Deposition, 22/16-23/25; Exh. 23, Miller Deposition, 28/10-28/19, 29/4-

  29/16. There is no evidence that at any time preceding Lutterloah’s assault on

  Merchant that Deputy Kosinski or Deputy Miller observed or should have known

  that an assault was imminent. There is no evidence, for example, that earlier in

  the shift Lutterloah and Merchant had feuded or threatened each other. There is

  no evidence that another inmate advised Deputy Kosinski or Deputy Miller that

  Lutterloah might assault Merchant later at night when the inmates were sleeping.

  Instead, the record evidence supports the conclusion that Lutterloah’s assault on

  Merchant was spontaneous, unexpected, and lasted less than 30 seconds from the


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  moment Lutterloah arose from his bunk until Lutterloah threw the final punch

  that downed and critically injured Merchant. See, e.g. Houston v. Givens, 11-678-

  CG-M, 2012 U.S. Dist. LEXIS 181468, at *16-17 (S.D. Ala. Dec. 4, 2012) (noting that

  detention officer’s absence from his post when inmate assault occurred was

  “merely a scintilla upon which a fair minded jury could not reasonably return a

  verdict for plaintiff” because inmate’s assault on plaintiff was spontaneous and

  unprovoked), adopted by, 2012 U.S. Dist. LEXIS 180919 (S.D. Ala., Dec. 21, 2012)).

        C.      Deputy Kosinski and Deputy Miller were not “deliberately indifferent” to a
  “substantial risk of serious harm” to Merchant.

         Even assuming arguendo that that the conditions within the Marion County

  Jail posed a “substantial risk of serious harm” to Merchant, the record lacks

  evidence showing that Deputy Kosinski or Deputy Miller were “deliberately

  indifferent.” See Nelson, 89 F.4th at 1297 (deliberate indifference standard “has two

  components: one subjective and one objective.”); see also Johnston v. Crosby, 135 Fed.

  Appx. 375, 377 (11th Cir. 2005) (unpublished) (“[i]n determining subjective

  knowledge, a court is to inquire whether the defendant-official was aware of a

  ‘particular threat or fear felt by [the] plaintiff.’”) (emphasis in original), quoting Carter

  v. Galloway, 352 F.3d 1346, 1350 (11th Cir. 2003).

         In Nelson, the 11th Circuit affirmed denial of qualified immunity to an intake

  correctional officer that had knowledge that a black inmate was accused of

  stabbing a white store clerk after viewing videos of police killing black people. Id.

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  at 1293-94. The intake correctional officer did not tell anyone about this inmate’s

  racial motive in stabbing the white clerk and the jail later housed the black inmate

  with another white inmate in a cell together. Id. at 1194-95. The black inmate later

  strangled and killed the white inmate while they were in their cell.          Id. In

  evaluating whether the intake correctional officer met the subjective component of

  deliberate indifference, the 11th Court noted that a reasonable jury could infer that

  the intake correctional officer “knew of the obvious risk of serious harm” (emphasis

  in original) because the officer “knew that [the black inmate] stabbed a white man

  in the back after watching videos of white-on-black police shootings; that [the

  black inmate] stabbed the man solely because he was white; that classification

  officers assigned [the black inmate] to a cell with [the white inmate.]” Id. at 1297.

        In the present action, there is no evidence in the record that Deputy Kosinski

  or Deputy Miller “actually (subjectively) knew” of a substantial risk of serious

  harm to Merchant and that Deputy Kosinksi or Deputy Miller “disregarded the

  known risk by failing to respond to it in an (objectively) reasonable manner.”

  Nelson, 89 F.4th at 1297 (cleaned up) (quoting Mosley v. Zachery, 966 F.3d 1265, 1270

  (11th Cir. 2020), and quoting Caldwell v. Warden, FCI Talladega, 748 F.3d 1090, 1099

  (11th Cir. 2014)). There is no evidence, for example, that Merchant advised Deputy

  Kosinski or Deputy Miller that he feared for safety in Gulf Pod, or that Merchant

  advised them of certain conditions that posed a risk for his safety.


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        For support that Deputy Kosinski and Deputy Miller subjectively knew of a

  substantial risk of serious harm, Plaintiff likely will point to evidence of “Friday

  Night Fights” or the inmate-on-inmate assaults that occurred in the past.

  However, there is no evidence that Deputy Kosinski or Deputy Miller was aware

  that “Friday Night Fights” ever occurred on their shift and, of course, Lutterloah’s

  assault on Merchant did not occur during one of these alleged “Friday Night

  Fights.” Exh. 21, Kosinski Deposition, 43/24-45/24; Exh. 23, Miller Deposition,

  97/5-97/8. As for past inmate-on-inmate assaults, while they occurred more

  frequently from 2017-2021 as the inmate population grew within the Marion

  County Jail, there is no evidence, nor analysis of any records, that Deputy Kosinski

  or Deputy Miller ignored the violence that occurred within the Marion County

  Jail. Exh. 11, Monthly/Yearly Averages, 1984-2024. As noted previously, Deputy

  Kosinski and Deputy Miller intervened when inmates fought and provided other

  jail administrators with incident reports to allow them to make discipline decisions

  for the involved inmates.     Deputy Kosinski and Deputy Miller maintained

  vigilance over the inmates by observing them through the video monitors and

  windows and by also completing the hourly security checks while the inmates

  were on lockdown. While Plaintiff may attempt to criticize Deputy Kosinski or

  Deputy Miller over how long it took them to complete the security checks, there is

  no dispute the Deputy Kosinski completed them per the Sheriff’s Office policy, the


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  Florida Model Jail Standards, and within the constitutional contours outlined in,

  for example, Cagle v. Sutherland, where a correctional officer let one hour and forty

  minutes elapse between cell checks and during that time an inmate committed

  suicide. 334 F.3d 980, 985 (11th Cir. 2003); see also Grochowski v. Clayton Cty., 961

  F.3d 1311, 1320 (11th Cir. 2020). Thus, there is no evidence that Deputy Kosinski

  or Deputy Miller knew of and disregarded “an excessive risk to [Merchant’s]

  health or safety” and that they were both “aware of facts from which the inference

  could be drawn that a substantial risk of serious harm exist[ed], and [Deputy

  Kosinski and Deputy Miller] [] also dr[e]w the inference.” Farmer, 511 U.S. at 837.

       D.     Plaintiff cannot prove a “causal connection” between Deputy Kosinski’s and
  Deputy Miller’s conduct and Lutterloah’s assault on Merchant.

        Plaintiff must prove “a causal connection between [Deputy Kosinski’s and

  Deputy Miller’s] conduct and the [Fourteenth] Amendment violation.” Bowen v.

  Warden, Baldwin State Prison, 826 F.3d 1312, 1320 (11th Circuit 2016) (plaintiff

  alleged that jail officials violated their classification policy by housing with

  another inmate, a paranoid schizophrenic inmate accused of murder and who had

  previously committed an inmate assault). This causal element requires proof that

  the officer “(1) had the means substantially to improve the inmate’s safety, (2)

  knew that the actions he undertook would be insufficient to provide the inmate

  with reasonable protection from violence, and (3) had other means available to

  him which he nevertheless disregarded.” Rodriguez v. Sec'y for the Dep't of Corr.,
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  508 F.3d 611, 622 (alterations adopted) (citation and internal quotation marks

  omitted). In Rodriguez, the 11th Circuit found a causal connection where a jail

  official, who was chief of security at the prison, could have moved an inmate who

  complained of threats from the Latin Kings to immediate administrative

  confinement and put in motion procedures for protective management, but the jail

  official failed to do so. Id. at 623. Instead, the jail official returned the inmate back

  to the housing section with the Latin Kings who had threatened the inmate’s life.

  Id. And later that morning after the transfer, an enforcer for the Latin Kings

  stabbed the inmate in the back and chest. Id. at 616.

        Here, other than actually observing Lutterloah leave his bunk and strike

  Merchant during those 30 seconds that Deputy Kosinski was not looking at the

  video monitor or the window and when Deputy Miller was breaking another

  deputy in master control, there is nothing in the record to suggest that Deputy

  Kosinski or Deputy Miller had the means to improve Merchant’s safety generally

  or his safety from Lutterloah specifically, that Deputy Kosinski or Deputy Miller

  knew that by not observing Lutterloah strike Merchant it would be insufficient to

  provide Merchant with reasonable protection from violence, and that Deputy

  Kosinski or Deputy Miller had other means to protect Merchant from violence that

  they nevertheless disregarded. Instead, simply by not observing or recognizing

  immediately that a spontaneous and unexpected assault will or had occurred does


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  not show that Deputy Kosinski’s lack of observation or Deputy Miller’s break of

  another deputy in the control room caused Lutterloah’s assault of Merchant. It is

  speculation to assume that even if they saw Lutterloah get up and approach

  Merchant, and thereafter attempted to intervene, that Lutterloah would have

  stopped his assault on Merchant. Thus, the record evidence shows that Deputy

  Kosinski’s or Deputy Miller’s action or inaction did not cause Lutterloah to assault

  Merchant.

          E.   Plaintiff cannot point to any “clearly established law” that would have put
  Deputy Kosinski or Deputy Miller on notice that their conduct was clearly unlawful given
  the circumstances.

        Finally, Plaintiff can point to no “clearly established law” that would have

  put Deputy Kosinski or Deputy Miller on notice that their conduct “was already

  established to such a high degree that every objectively reasonable” officer in his

  place “would be on notice” that what he was doing was “clearly unlawful given

  the circumstances.” Pace v. Capobianco, 283 F.3d 1275, 1282 (11th Cir. 2002); see also

  Mercado v. City of Orlando, 407 F.3d 1152, 1159 (11th Cir. 2005) (plaintiffs can satisfy

  requirement by (1) by pointing to a materially similar decision of the Supreme

  Court, of the Eleventh Circuit, or of the Florida Supreme Court; (2) by establishing

  that “a broader, clearly established principle should control the novel facts” of the

  case; or (3) by convincing the court that the case is one of those rare ones that “fits

  within the exception of conduct which so obviously violates th[e] constitution that


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  prior case law is unnecessary”).

        Certainly, it is clearly established that Deputy Kosinski and Deputy Miller

  must ensure the safety of the inmates, including Merchant, through “reasonable

  measures.” See Farmer, 511 U.S. at 832. However, it was not clearly established

  that Deputy Kosinski or Deputy Miller must guarantee the inmates’ safety through

  their personal observation at all times. Nor is this a case in which Deputy Kosinski

  or Deputy Miller did “nothing” to prevent or reduce inmate-on-inmate assaults

  by, for example, failing to complete security checks or intervene when they

  observed, or when an inmate advised them of, an inmate-on-inmate assault. See

  supra Sec. 1; see also, e.g. Marsh v. Butler County, 268 F.3d 1014, 1034 (11th Cir. 2001)

  (where jail usually only had one jailer to oversee entire facility, where video

  surveillance did not exist to monitor inmates, where jail did not segregate or

  discipline inmates, where inmate was beaten for several minutes and other

  inmates tried to get jailer’s attention but no response was taken until 10 to 15

  minutes after assault ended, jail deliberately indifferent to serious risk of

  substantial harm).

      2.    Deputy Kosinski and Deputy Miller are entitled to state law
  immunity.

        In Count III, Plaintiff seeks to hold Deputy Kosinski and Deputy Miller

  liable under Florida law for the wrongful death of Merchant. In wrongful death

  actions under Florida law, Plaintiff must show that the injury suffered by
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  Merchant was reasonably foreseeable or anticipated to allow time for Deputy

  Kosinski or Deputy Miller to prevent the injury. See Groover v. Polk Cty. Bd. of Cty.

  Comm'rs, 570 F. Supp. 3d 1134, 1147 (M.D. Fla. 2021) (granting summary judgment

  where evidence “too speculative and imprecise to create a dispute of fact as to

  whether the Defendants more likely than not caused [decedent’s] death.”); Gooding

  v. Univ. Hosp. Bldg., Inc., 445 So. 2d 1015, 1018 (Fla. 1984) (affirming directed verdict

  in negligence action where plaintiff “established a no better than even chance” the

  decedent would have survived); Acosta v. Miami-Dade Cnty., 97 F.4th 1233, 1242

  (11th Cir. 2024) (“Florida courts follow the ‘more likely than not’ standard of

  causation” in wrongful death cases). However, in order to show that Merchant’s

  assault and injury were foreseeable, Plaintiff would need to heap inference upon

  inference, or speculation on top of speculation, to achieve this outcome. And given

  the swiftness in which Lutterloah escalated the assault on Merchant, Plaintiff

  cannot argue that, if only they had observed Merchant out of his bunk or observed

  Lutterloah confront Merchant, then the assault could have been prevented. There

  is no testimony or evidence in the record that even if Deputy Kosinski or Deputy

  Miller had observed these occurrences that Lutterloah would have stopped his

  assault on Merchant.

        There is also no evidence that Merchant made requests to Deputy Kosinski

  or Deputy Miller to be moved from Gulf Pod due to his fear of an assault from the


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  inmates, including Lutterloah. In fact, based on Merchant’s disciplinary history in

  the jail, it appears that Merchant wanted to be in Gulf Pod, which the Marion

  County Jail later accommodated after Merchant was housed in medical pods and

  administrative confinement due to his suicidal idealization and disciplinary

  violations, respectively. Exh. 33, Merchant Incident Reports, P. 16-19. Further, the

  objective evidence points to Deputy Kosinski and Deputy Miller taking every

  reasonable action to provide for the safety and security of the Gulf Pod inmates

  and the Marion County Jail. Deputy Kosinski acted with diligence in responding

  to the assault by entering the housing section and radioing for backup and

  emergency assistance once he determined that Merchant was in distress. And

  Deputy Miller opened doors to allow medical personnel and correctional officers

  to allow them to render aid to Merchant. In the aftermath, Deputy Kosinski did

  not ignore the assault but reviewed the video footage and drafted an incident

  report to assist jail investigators in pursuing criminal charges against Lutterloah.

        Further, even assuming arguendo that Deputy Kosinski or Deputy Miller

  were negligent in their monitoring of the inmates in Gulf Pod and that as a result

  of this negligence it was foreseeable that Lutterloah would assault Merchant, there

  is no evidence that Deputy Kosinski or Deputy Miller “acted in bad faith or with

  malicious purpose or in a manner exhibiting wanton and willful disregard of

  human rights, safety, or property” to pierce their statutory immunity under


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  Florida law. See § 768.28(9)(a), Fla. Stat. Importantly, the immunity provided by

  § 768.28(9)(a), Fla. Stat., is both an immunity from liability and an immunity from

  suit, which is effectively lost if the person entitled to assert the immunity is

  required to go to trial. See Tucker v. Resha, 648 So. 2d 1187 (Fla. 1994). The trial

  judge must act as a gatekeeper under these circumstances, and should terminate

  civil proceedings when the immunity applies. See Willingham v. City of Orlando,

  929 So.2d 43, 48 (Fla. 5th DCA 2006). And while Florida statutes do not define the

  terms used in $768.28(9)(a), Fla. Stat., the standard higher is certainly higher than

  negligence and similar to “deliberate difference.” See Parker v. State of Fla. Bd. of

  Regents ex rel. Fla. State Univ., 724 So. 2d 163, 167 (Fla. 1st DCA 1998) (“bad faith”

  “equated with the actual malice standard”); Eiras v. State Dep't of Bus. & Prof'l

  Regulation Div. of Alcoholic Bevs. & Tobacco, 239 F. Supp. 3d 1331, 1343

  (M.D. Fla. 2017) (“malicious purpose” has been interpreted to mean conduct

  committed with “ill will, hatred, spite, [or] an evil intent” or “the subjective intent

  to do wrong”); Richardson v. City of Pompano Beach, 511 So. 2d 1121, 1123 (Fla. 4th

  DCA 1987) (“wanton and willful disregard of human rights [or] safety” connotes

  “conduct much more reprehensible and unacceptable than mere intentional

  conduct”); Sierra v. Associated Marine Insts., Inc., 850 So. 2d 582, 593 (Fla. 2d DCA

  2003) (“conduct that is worse than gross negligence”). Here, there is no evidence

  that Deputy Kosinski or Deputy Miller acted in a manner sufficient to pierce their


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  statutory immunity under Florida.

          3.      Merchant had no “survivors” under Florida or Federal law. 1

          Finally, neither Plaintiff, Krysti Merchant, nor Tommie Merchant, who is not

  a plaintiff, are “survivors” under Florida’s Wrongful Death statute, which would

  entitle them to damages, because there is no evidence that Cory Merchant

  provided either “support” or “services” to Krysti Merchant or Tommie Merchant

  “from the date of [Cory Merchant’s] injury to [] his death, with interest,” or that

  Cory Merchant would provide any “future loss of support and services [to Krysti

  Merchant or Tommie Merchant] from the date of death and reduced to present

  value.” § 768.21(1), Fla. Stat.; Exh. 34, Krysti Merchant Deposition, 9/6-9/9, 10/13-

  11/4, 23/10-23/13, 19/2-19/20, 22/2-22/14, 22/23-23/9, 45/17-48/6; Exh. 35,

  Tommie Merchant Deposition, 28/24-29/21, 30/10-31/4, 52/23-53/11, 55/10-

  56/19, 56/21-57/12; see also Sheriff Woods’ Motion for Summary Judgment, Sec.

  2.B. Thus, as it relates to Plaintiff’s wrongful death action, neither Krysti Merchant

  nor Tommie Merchant are “survivors” and judgment should entered against them



  1 Plaintiff and Tommie Merchant are also not entitled to “survivor” damages under 42 U.S.C. §

  1983. See Estate of Gilliam v. City of Prattville, 639 F.3d 1041, 1045 (11th Cir. 2011) (“§ 1983 does not
  provide for the survival of civil rights actions. Due to this deficiency…the state law of the forum
  applies as long as it is not inconsistent with the Constitution and the laws of the United States.”);
  see also Mucciolo v. Boca Raton Reg'l Hosp., Inc., 824 F. App'x 639, 644 (11th Cir. 2020) (“when death
  is the result of a personal injury, the law of Florida essentially substitutes a statutory wrongful
  death action for the personal injury action.”); Ortiz v. Burlein, 2023 WL 11823630, at *3 (M.D. Fla.
  2023) (“When a personal injury to the decedent results in death, no action for the personal injury
  shall survive…But under the survival statute…personal injury actions in which the personal
  injury is not also the cause of death [may be brought.”).

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  for their “survivor” claims.

           WHEREFORE, Defendants, Deputy JUSTIN KOSINSKI and Deputy

  DELLUN MILLER, respectfully request that the Court enter an Order granting

  summary judgment for Deputy Kosinski and Deputy Miller and against Plaintiff

  on Counts I and III of Plaintiff’s First Amended Complaint.

           Dated: June 27, 2025

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 27th day of June, 2025, I electronically filed

  the foregoing with the Clerk of the Court by using the CM/ECF system, which

  will send notice of electronic filing to counsel for Plaintiff, James M. Slater, Esquire,

  Slater Legal, PLLC, 113 South Monroe Street, Tallahassee, Florida 32301, and Sam

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